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                         Exhibit 135

              December 17, 2024 Notice
               Delivery Confirmation
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From:        FedEx Tracking
To:          Josh Weiner
Subject:     Your shipment was delivered 770850958723
Date:        12/19/2024 12:20:00 PM
CC:
BCC:

Message:
Warning: External email, use care with links & attachments




           Your shipment was delivered.
                                      Delivery Date
                                      De

                                Thu, 12/19/2024
                                   10:28am




                                       Rece
                                         ceived
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                                        R.LEISURE



                                 Report missing package




                                            1
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                   How wa
                       was yo
                           your delive
                                    very?




Tracking details

Track
   cking ID                         770850958723


From                                FARMINGTON, CT, US


To                                  OMAHA, NE, US


Shi
 hip date                           Tue 12/17/2024 06:33 PM


Num
 umber
    er of piec
            eces                    1


Total shipment
            nt wei
                eigh
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Ser
 ervice                             Fed
                                     edEx 2Day®




                                   2
    Case 1:21-cv-11205-FDS          Document 182-135         Filed 01/06/25     Page 4 of 5




                                    TRACK SHIPMENT




                                                     FedEx can ship your
                                                     holiday packages for
                                                     less than the Post
                                                     Office.*
                                                     Two-day retail shipping, one flat rate.
                                                     FedEx One Rate®.*Effective 10/6/24
                                                     1/19/25.


                                                        EXPLORE FEDEX ONE RATE®




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report was generated at approximately 11:20 AM CST 12/19/2024.




                                                3
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All weights are estimated.


To track the latest status of your shipment, click on the tracking number above.


Standard transit is the date and time the package is scheduled to be delivered by, based on the
selected service, destination and ship date. Limitations and exceptions may apply. Please see the
FedEx Service Guide for terms and conditions of service, including the FedEx Money-Back
Guarantee, or contact your FedEx Customer Support representative.


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